 

CaSe: 1518-CV-00591-S.]D DOC #Z 8 Filed: 08/23/18 Page: l Of 2 PAGE|D #Z 82

AO 458 {Rev. 06/09) Appearance of Counsei

To:

Date:

UNITED STATES DISTRICT CoURT

Brittnev Heifman
Plairrtzf
v

Aftab Pureva|
Dejzndant

The clerk of court and all parties of record

for the
Southel'n District of Ohio

\._/\._/\._/\._/\./

1:18-cv-591

APPEARANCE OF COUNSEL

lam admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Hamilton County C|erk of Courts

M

/s/Jerome A. Ku nke|
A!tomey ’s signature

Jerome A. Kunke| 0039562

Printed name and bar number

Hami|ton County Prosecutor's Office
230 E. Ninth Street, Suite 4000
Cincinnati, OH 45202

 

Aa'dres.s'

Jerry.Kunke|@hcpros.org

E~mail address

(5‘13) 946-3103

Te!ephone number

(5'| 3) 946-3018
FAX number

 

CaSe: 1218-CV-00591-S.]D DOC #Z 8 Filed: O8/23/18 Page: 2 Of 2 PAGE|D #Z 83

CERTIFICATE OF SERVICE

I hereby certify that on August 23, 2018, I electronically filed the foregoing Notice of
Appearance with the Clerk of` Court using the CM/ECF system which Will send notification of such
filing to all counsel of record.

/s/ Je_r_ome A. Kunkel
Jerome A. Kunkel (0039562)
Assistant Prosecuting Attorney

 

